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 6
     Attorneys for Defendants
 7
 8
 9                              UNITED STATES DISTRICT COURT

10                                     DISTRICT OF NEVADA

11   WILLIAM LEWIS,
                                                          Case No. 8:19-cv-00625-GMN-OLB
12
18   vs.                                                STIPULATION AND ORDER FOR
                                                         DISMISSAL WITH PREJUDICE
14   DR. TED HANF, et al. 1
15                       Defendants.
16
17          Defendants, by and through counsel, Aaron D, Ford, Attotney General of the State
18   of Nevada, and Kayla D. Dorame, Deputy Attorney General, hereby stipulate and agree 1
19   pursuant to FED. R. CIV. P. 41(a)(l)i that the above captioned action should be dismissed
20   in its entirety with prejudice by order of this Court.
21   // /
22   // /
28   ///
24   ///
25   ///
26   II I
27   Ill
28   Ill
Case 3:19-cv-00625-GMN-CLB                       Document 30       Filed 04/27/21   Page 2 of 3




 1         This Stipulation for Dismissal with Prejudice is executed as part of an out-of-court
 2   settlement between parties, Pursuant to the terms of the Settlement Ag1:eement and Full
 3   and Final Roloaso, each party hereto shall bear its own nttorney'a foes and costs,
 4                                                         ***
 5   DATED this 2.Z- day of�, 2021.
 6
                                                               AARON D, FORD
 7                                                             Attorney General

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           WILtfXrt.frn�a)                                          l{AYLA D. DORAME
10         Plaf,n,tif(i Pro Se                                      Deputy Attorner Gene1•al
                                                                    Public Safety Drvision
11                                                                  Attorneys for Defendants
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15                                                          IT IS SO ORDERED.
16
                                                            Dated this 27
                                                                       ____ day of April, 2021.
17
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19                                                          ___________________________
20                                                          Gloria M. Navarro, District Judge
                                                            UNITED STATES DISTRICT COURT
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      Case 3:19-cv-00625-GMN-CLB         Document 30        Filed 04/27/21   Page 3 of 3




 1                                 CERTIFICATE OF SERVICE
 2         I certify that I am an employee of the Office of the Attorney General, State of
 3   Nevada, and that on this 27th day of April, 2021, I caused to be served a copy of the
 4   foregoing, STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE,
 5   by depositing for mailing via the U.S. Postal Service, to the following:

 6

 7   William Lewis #1169143
     Warm Springs Correctional Center
 8   P.O. Box 7007
     Carson City, NV 89701
 9

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11

12                                                     An employee of the
                                                       Office of the Attorney General
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